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                          UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF COLORADO


 In re:                                    )                      Case No.: 18-14487-KHT
                                           )
 DERRICK J. MARTIN, JR.                    )                      Chapter 7
                                           )
       Debtor.                             )                      Adversary No.: 18-01413-KHT
 __________________________________________)
                                           )
 DAVID V. WADSWORTH, Chapter 7 Trustee )
                                           )
       Plaintiff,                          )
                                           )
 v.                                        )
                                           )
 TWO RINGS PROPERTY                        )
 MANAGEMENT, LLC                           )
                                           )
       Defendant.                          )



                  DEFENDANT’S RULE 26(A)(1) INITIAL DISCLOSURES


         COMES NOW Defendant, Two Rings Property Management, LLC, by and through
 undersigned counsel, and hereby discloses the following information pursuant to F.R.C.P. Rule
 26(a)(1):

                                           INITIAL DISCLOSURES

               1. Individuals:

                  a. Derrick J. Martin, Jr., 23593 E. Chenengo Place, Aurora, Colorado 80016-
                     5955; (720) 724-5346. Mr. Martin may have discoverable information as to all
                     facts relevant to this case and shall testify as to all facts and circumstances
                     relevant to this case.

                  b. Alexa S. Martin, 23593 E. Chenengo Place, Aurora, Colorado 80016-5955;
                     (720) 724-5346. Ms. Martin may have discoverable information as to all facts
                     relevant to this case and shall testify as to all facts and circumstances relevant
                     to this case.



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                  c. Wayne Vaden, Attorney at Law, City Park Law Group, 3401 Quebec St.,
                     #9305, Denver, CO 80207; (303) 377-2933. Mr. Vaden may have discoverable
                     information as to all facts relevant to this case and shall testify as to all facts
                     and circumstances relevant to this case.

                  d. Any other individual with personal knowledge who may have discoverable
                     information as to all facts relevant to this case.

               2. Documents and Tangible Things:

                  a. All corporate records and/or documents of Two Rings Property Management,
                     LLC.

                  b. Transcript of 341(a) meeting of creditors on 7/9/2018.

                  c. Any documents produced by Plaintiff in this case.

                  d. Any document relevant to the underlying facts relevant to the alleged claim(s)
                     in this case.

               3. Expert Testimony:

                  a. Defendant does not anticipate to offer any testimony of an expert witness at
                     trial at this time. Defendant reserves the right to supplement this disclosure
                     with other information as it becomes available.

               4. Computation of Damages:

                  a. Not applicable.

               5. Insurance Policies:

                  a. Not applicable.

          Defendant Two Rings Property Management, LLC reserves the right to supplement this
 list with any other information as it becomes available.


 DATED: 2/5/2019                                          ALLSTATE LAW CENTER, P.C.

                                                          \s\ Lawrence R. Hill
                                                          Lawrence R. Hill, #17447
                                                          Attorney for Defendant
                                                          12835 E. Arapahoe Road, #I-200
                                                          Centennial, CO 80112
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                                 CERTIFICATE OF SERVICE

         The undersigned hereby certifies that a true and correct copy of the DEFENDANT’S
 RULE 26(A)(1) INITIAL DISCLOSURES were placed in the U.S. Mail, postage pre-paid, and
 also delivered via CM/ECF filing on this 5th day of February, 2019, addressed as follows:

 David M. Miller
 Spencer Fane LLP
 1700 Lincoln St., #2000
 Denver, CO 80203


 DATED: 2/5/2019                                  \s\ Lawrence R. Hill




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